      Case 1:23-cv-03026-TOR   ECF No. 90   filed 04/11/23   PageID.2243 Page 1 of 4




 1   RAÚL R. LABRADOR
      Attorney General
 2
     DAVID M.S. DEWHIRST (ID #12141)
 3    Chief Deputy Attorney General
     THEODORE J. WOLD (CA #289177)
 4    Solicitor General
 5
     LINCOLN DAVIS WILSON (WA #53764)
      Deputy Attorney General
 6    Chief, Civil Litigation and Constitutional Defense Division
     JOSHUA N. TURNER (MN #0400279)
 7    Deputy Solicitor General
 8   Office of the Attorney General
     P.O. Box 83720
 9   Boise, Idaho 83720-0010
     Tel: (208) 334-2400
10
     Fax: (208) 854-8071
11

12                   UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WASHINGTON
13

14     STATE OF WASHINGTON, et al.,              Case No. 1:23-cv-03026
15        Plaintiffs,
16           v.

17     UNITED STATES FOOD AND DRUG
       ADMINISTRATION, et al.                     MOTION TO EXPEDITE
18
          Defendants,
19

20     STATE OF IDAHO; STATE OF
       IOWA; STATE OF MONTANA;
21
       STATE OF NEBRASKA; STATE OF
22     SOUTH CAROLINA; STATE OF
       TEXAS; STATE OF UTAH,
23
          Plaintiffs-Intervenors,
24


     MOTION TO EXPEDITE                     1           ATTORNEY GENERAL OF IDAHO
      Case 1:23-cv-03026-TOR   ECF No. 90   filed 04/11/23   PageID.2244 Page 2 of 4




 1        Plaintiffs-Intervenors move to expedite consideration of their Mo-
 2
     tion to Intervene (Dkt. #76) and their pending motions for admission pro
 3
     hac vice (Dkt. ##77, 79, 85, 87, 88, 89) by or before April 21, 2023. To
 4

 5
     accommodate the Court’s expedited consideration, Plaintiffs-Intervenors

 6   will file their reply in support of their Motion to Intervene by April 19,

 7   2023. Plaintiffs have informed Plaintiffs-Intervenors that they take no
 8
     position on this Motion to Expedite, and Defendants have informed Plain-
 9
     tiffs-Intervenors that they do not oppose it. Plaintiffs and Defendants
10

11   both oppose the underlying Motion to Intervene.

12        Expedited ruling on Plaintiffs-Intervenors’ Motion to Intervene and
13
     pro hac vice motions will ensure that they are able to protect their inter-
14
     ests fully in this matter. The Court’s April 7, 2023 Preliminary Injunction
15
     Order impacts Plaintiffs-Intervenors. Plaintiff States like Washington,
16

17   Colorado, New Mexico, and Oregon border several of Plaintiffs-Interve-

18   nors, and differing safeguards for mifepristone in these States directly
19
     affect Plaintiffs-Intervenors and their residents. These concerns are par-
20
     ticularly salient since mifepristone may otherwise not be approved for
21

22   marketing as of April 15, 2023, under the court’s order in Alliance for

23   Hippocratic Medicine v. FDA, 2:22-cv-00223-Z, Dkt. 137 (Apr. 7, 2023).
24


     MOTION TO EXPEDITE                     2           ATTORNEY GENERAL OF IDAHO
      Case 1:23-cv-03026-TOR   ECF No. 90   filed 04/11/23   PageID.2245 Page 3 of 4




 1        Without expedited consideration, Plaintiffs-Intervenors’ motions
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     are set to be considered no earlier than May 1, 2023. The deadline to
 3
     appeal the Court’s Preliminary Injunction order is May 8, 2023, which
 4

 5
     will likely pass before the Court decides Plaintiffs-Intervenors’ Motion to

 6   Intervene. Plaintiffs-Intervenors thus have good cause to request expe-

 7   dited consideration and respectfully request a decision on their Motion to
 8
     Intervene and pro hac vice motions by Friday, April 21, 2023, in advance
 9
     of the deadline to appeal from the April 7, 2023 Preliminary Injunction
10

11   Order.

12   Dated: April 11, 2023
13

14                                      /s/ Lincoln Davis Wilson_______
                                        LINCOLN DAVIS WILSON (#53764)
15                                      Deputy Attorney General
                                        Chief, Civil Litigation and
16
                                        Constitutional Defense Division
17                                      Office of the Attorney General
                                        P.O. Box 83720
18                                      Boise, Idaho 83720-0010
                                        Tel: (208) 334-2400
19
                                        Fax: (208) 854-8071
20                                      Lincoln.Wilson@ag.idaho.gov

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     MOTION TO EXPEDITE                     3           ATTORNEY GENERAL OF IDAHO
      Case 1:23-cv-03026-TOR   ECF No. 90   filed 04/11/23   PageID.2246 Page 4 of 4




 1
                          CERTIFICATE OF SERVICE
 2
           I hereby certify that, on April 11, 2023, I electronically filed the
 3
     foregoing with the Clerk of the Court using the CM/ECF system, which
 4

 5   will send notification of such filing to all counsel of record.

 6

 7
                                         /s/Lincoln Davis Wilson____________
 8                                       LINCOLN DAVIS WILSON (WA #53764)
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     MOTION TO EXPEDITE                     4           ATTORNEY GENERAL OF IDAHO
